           Case 6:20-mj-00743-MJP Document 1-1 Filed 10/09/20 Page 1 of 7




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           York )
State of New
County of Monroe )               SS
City of Rochester )

         JOHN T. DENZ, being duly sworn, deposes and states:


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         1.     I am a Special Agent with the Federal Bureau of Investigation       (FBI), and have

served   in this capacity for approximately nine months.      I   am currently assigned to the Joint

Terrorism Task Force (JTTF), Buffalo Division, in Rochester, New York. At the JTTF, I work

with a team of federal, state, and local law enforcement agents and officers on investigations

relating to domestic and international terrorism. During my tenure with the FBI,         I have also
attended intensive training on counterterrorism and other types of investigations, including

counterintelligence, white collar crime, public comrption, organized crime, and narcotics.     I   am

famrTtar   with digital evidence commonly       possessed and used    by those involved in criminal

activities. I have also conferred with other FBI Special Agents who have expertise and experience

in counterterrorism investigations and digital evidence. As a Special Agent with the FBI, I am a

"[f]ederal law enforcement officer" within the meaning of Rule U(a)(2)(C) of the Federal Rules

of Criminal Procedure, that is, a government agent engaged in the enforcement of the criminal

laws of the United States and thereby authorized to request the issuance of federal search and

seizure warrants.


         2.     The FBI is an agency within the executive branch of the govemment of the United

States and is responsible   for investigating alleged violations of federal criminal law, including,

inter alia, violations of 18 U.S.C $ 2101(a) (riots).
           Case 6:20-mj-00743-MJP Document 1-1 Filed 10/09/20 Page 2 of 7




         3.      I make this affidavit in support of an application under Rule 41 ofthe Federal Rules

of Criminal Procedure for a search warrantavthorizrngthe examination ofproperty           - specifically,
a black Samsung Galaxy cellular telephone, Model Number SM-J260A,bearing serial number

RF8M72B70II and IMEI 357177101420177, described in Attachment A (hereinafter, "Subject

Cell Phone")    - which is currently in the possession of the FBI, and the extraction            from that

properry of electronically stored information described in Attachment B. The Subject Cell Phone

is currently being stored in a locked evidence drawer at the offices of the FBI at 1200 Scottsville

Road, Rochester, New York.


         4.     The assertions made herein are based on my personal knowledge and information

I   have received from this investigation, including information from several law enforcement

officers and agents assigned to the Rochester Joint Terrorism Task Force (JTTF), records from

Facebook, and information from public databases, all of which are true and correct to the best of

my knowledge andbelief. Further, I have had discussions with law enforcement officers involved

in this investigation who have confirmed the accuracy of the information contained within this

affidavit. Since this affidavit is being submitted for a limited purpose, I have not included each

and every fact that   I know concerning this investigation. Rather, I    have set forth only the facts

that I believe are necessary to establish probable cause to obtain the requested search warrarlt.


         5.     Based on my training and experience, and the facts set forth in this affidavit, there

is probable cause to believe that   RYAN HOWE a/k/        a Rylea   Autumn has committed     a   violation

of   18 U.S.C. $ 2101(a). Section   2l0l(a) provides, in pertinentpart, that "[w]hoever . . .uses any

facility of interstate or foreign commerce, including but not limited to, the mail, telegraph,

telephone, radio, or television, with intent (1)       to incite a riot; or (2) to   organtze, promote,

encourage, participate in, or carry on a riot; or (3) to commit any act of violence in furtherance      of

a riot; or (4) to aid or abet any person in inciting or participating in or carrying on a riot or
                                                   2
             Case 6:20-mj-00743-MJP Document 1-1 Filed 10/09/20 Page 3 of 7




committing any     ac..   of violence in furtherance of a riot; and who either during the course of any

such . . . use or thereafter performs or attempts to perform any other overt act for any purpose

specified in subparagraph [(1), (2), (3), or    ( )] of this pNagraph.   . . shall be fined under this title

or imprisoned not more than five years or both." There is probable cause to search the Subject

Cell Phone described in Attachment A for evidence, contraband and fruits of this crime,                  as


described in Attachment B.


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       6.        The property to be searched consists of the Subject Cell Phone, which was seized

as evidence incident to the arrest of     RYAN HOWE on or about September 25,2020, and which

has been securely stored and maintained in FBI custody since its seizure.


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                                      FBI ImvrsrtcanroN or Hown

        l.       RYAN HOWE is a 27-year old white male. He is a United                States citizen, who

until recently resided atl72 West Main Street, Apartment No. 1, Rochester, New York. As

detailed herein, HOWE has expressed anti-law enforcement sentiment and self-identifies as an

Anti-Fascist. Furthermore, HOWE has demonstrated an anarchist ideology.


        8.       On September 2,2020, HOWE was arrested by the Rochester Police Department

(RPD) for inciting ariotand resisting arrest. The arrest stemmed from HOWE's involvement in

protests in Rochester relating to the death of Daniel Prude, who died in March 2020, one week

after an encounter with RPD officers. Specifically, HOWE approached metal barricades

surrounding the public Safety Building (PSB) in Rochester, picked up the metal barricades and

slammed them down. HOWE also shook the barricades and screamed Lt an apparent effort to

 agitate approximately 40 other protesters who were present              at the PSB. When the police

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         Case 6:20-mj-00743-MJP Document 1-1 Filed 10/09/20 Page 4 of 7




attempted to arrest HOWE, he pulled away from the offi.cers, wrapped himself around a street

sign and refused to let go. After being freed from the sign, HOWE kicked and moved his body to

avoid being handcuffed. RPD reports documented HOWE's home address as 172 West Main

Street Apartment   No.   1, Rochester, New   York.


       9.     On September 8,2020, the Monroe County Sheriffs Office shared information

that HOWE espouses beliefs consistent with Antifascist (ANTIFA) ideology on his Facebook

page, www.facebook.comlry1ea.howe.50, which has                a     user name   of "Rylea Autumn"
(hereinafter, "HOWE's Facebook page"). HOWE's Facebookpage includedreferences to several

ANTIFA    images and symbols, including a profile picture banner stating, "Antifascist      Action,"   a


profile picture of HOWE dressed in all black with a helmet and goggles (which is consistent with

the physical appeannce of ANTIFA adherents), a circle with the letter            "A" which represents
anarchy, and the profile synopsis under the profrle picture which states "Anti-Fascist" and

"Anarcho-communist. "


       10.    On or about March 13,2020, police officers from the Louisville (Kentucky) Metro

Police Department executed a search wanant at the apartment of Breonna Taylor. During the

search waffarlt,there was an exchange ofgunfire between an occupant of Ms. Taylor's apartment

and the officers. Ms. Taylor was shot and kitled during the incident. On September 23, 2020, the

Kentucky Attomey General announced that a grandjury had declined to indict the officers in

relation to Ms. Taylor's death. In the wake of this announcement, some members of the public           -
including individuals and groups in Rochester        -   expressed   their outrage at the decision, and

declared their intention to protest in the evening of September 24, 2020. Through social media,

some of these individuals also expressed a desire to burn the city down in response to the grand

jury's decision. For example, one Facebook user stated, "So I say Fuck 12 [meaning the police]!

Burn that shit down! Yes     I said itlll" In response to the post, another Facebook user posted,
                                                     4
           Case 6:20-mj-00743-MJP Document 1-1 Filed 10/09/20 Page 5 of 7




"BURN IT ALL TF [meaning "the fuck"] DOWN", and another Facebook user posted,

"Justffied in burning it ALL downl!l!!"


       11.     On September 23, 2020, HOWE's Facebook page was used to post a reference to

an article from the Huffington Post entitled, "No Cops Charged With Murder In The Killing Of

Breonna Taylor." Along with the reference to the arttcle, HOWE's Facebook page was used to

post a message reading, "Burn this shit to the fucking ground."


       12.     On September 24,2020, at approximately 8:32 a.m., HOWE's Facebook page was

used to post a Facebook message that consisted of a recipe for a   Molotov cocktail and guidance

on how to use one against the police. Specifically, the Facebook post read as follows,

       I part gasoline
       I part used motor oil
       I part crushed Styrofoam
       Mix until the consistency of a thick paste
       Place in glass containers
       Soak rag in gasoline , tie a knot in the end just big enough to fit through the hole of the
       bottle, but won't rip out.
       Light wick
       Aim at cop
       Throw

       13.     Later on September 24, 2020, HOWE's Facebook page was used to post another

message, which read,   "Good morning to everyone ready to burn this whole fuckin country to the

ground!"


       14.     On September24,2020, at approximately 4:48 p.m., HOWE's Facebookpage was

used to post an animated image (commonly referred to as an       "emoji") which depicted a smiley

face holding what appeared to be a flaming   Molotov cocktail.

       15.     In the evening on September 24, 2020, FBI Special Agent Timothy Klapec and

FBI Task Force Officer (TFO) Michael Turton interviewed HOWE outside his residence at         172


West Main Street. During the interview, Special Agent Klapec and TFO Turton showed HOWE
                                                5
         Case 6:20-mj-00743-MJP Document 1-1 Filed 10/09/20 Page 6 of 7




a copy of the Facebook post from earlier in the day that contained the recipe for a Molotov

cocktail and guidance for using it against the police (referenced :.r:,n12, above). HOWE admitted

to making the Facebook post as an emotional response to perceived excessive use of force by the

police nationwide. HOWE stated that he wanted the post to be something edgy that would

generate a response.   HOWE acknowledged that he was of clear mind when he made the post and

was not under the influence of drugs or alcohol. HOWE stated he obtained the instructions for

making a Molotov cocktail from "The Anarchist Cookbook" (which is widely avatlable on the

Internet). HOWE fuither stated the Facebook post was a mistake, and that he deleted the post

after he received a notification from Facebook that the post violated the terms of use agreement.

HOWE expressed a desire for law enforcement to be defunded and ultimately abolished, but did

not wish to see anyone harmed in the process.


        16. On September         25, 2020, the Honorable Mark W. Pedersen, United              States


Magistrate Judge, issued Criminal Complaint No. 20-MJ-4198, which charged HOWE with a

violation of 18 U.S.C.   $ 2101(a)   (riots), and an accompanying arrest warrant. Later that day, the

FBlarrestedHOWEoutsidehisresidenceatlT2WestMainStreet,ApartmentNo. l,Rochester,

New York. At the time ofthe arest, I seized the Subject Cell Phone from HOWE's hand. HOWE

did not have any other cell phones in his possession at the time ofhis arrest. I relinquished custody

of the Subject Cell Phone to FBI Special Agent Colin Barrett, who secured and maintained

custody of the Subject Cell Phone. Since that time, the Subject Cell Phone has been secured in a

locked evidence drawer at the offices of the FBI.


                                     UsB   or Cnrr PnoNs rY HOWE

        17.    As detailed above, HOWE has used Facebook to post              messages   and images

(including messages and images relating to Molotov cocktails and using them against law

enforcement), and to communicate with others. At the time of his interview and arrest, HOWE
                                                    6
         Case 6:20-mj-00743-MJP Document 1-1 Filed 10/09/20 Page 7 of 7




was unemployed and sleeping on the floor of a friend's apartment. Based on HOWE's financial

situation, I believe that it is unlikely he had additional electronic devices and it is likely that the

Subject Cell Phone was his only electronic device. Therefore, I further believe that the Subject

Cell Phone is the device that was used by HOWE to, among other things, post the above­

referenced messages on his Facebook account and to research the recipe for a Molotov cocktail

in "The Anarchist's Cookbook."


                                            CONCLUSION

        18.     Based on the above, and upon my training and experience, I believe that probable

cause exists to believe that the Subject Cell Phone contains information that constitutes records,

fruits, instrumentalities, and evidence of a crime, to wit, a violation of18 U.S.C. § 210 l(a) (riots) ,

including the specific information and data set forth in Attachment B, Schedule of Items to be

Seized. Accordingly, it is respectfully requested that the Court issue a warrant authorizing law

enforcement officers to search the Subject Cell Phone, as described in Attachment A, for evidence

of the above violations, as set forth in Attachment B, Schedule ofltems to be Seized.


                                                       J�T.DENZ
                                                       Special Agent
                                                       FBI

 Affidavit for Search Warrant submitted
 electronically by email in .pdf format. Oath
 administered and contents and signature
 attested to me as true and accurate
telephonically pursuant to Fed. R. Crim. P.
4.1 and41(d)(3) on October 9, 2020.



HONORABLE MARK W. PEDERSEN
United States Magistrate Judge
Western District of New York


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